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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

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                                                             :
In re                                                        :        Chapter 11
                                                             :
RS FIT NW LLC,                                               :        Case No. 20–11568 (KBO)
                                                             :
                           Reorganized Debtor.               :
                                                             :
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                      ORDER SCHEDULING OMNIBUS HEARING DATES


        IT IS HEREBY ORDERED, that the following omnibus hearing dates have been

scheduled in the above-captioned case:

                  DATE                                            TIME

                  October 26, 2023                                10:30 a.m. prevailing Eastern Time

                  November 28, 2023                               10:30 a.m. prevailing Eastern Time




    Dated: September 20th, 2023                                  KAREN B. OWENS
    Wilmington, Delaware                                         UNITED STATES BANKRUPTCY JUDGE



DOCS_DE:229412.19 00162/001
